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  NOT FOR PUBLICATION

                             UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEW JERSEY

  ____________________________________
                                      :
  LARRY GRAFAS, 608 GREEN AVENUE :
  ASSOCIATES LLC, and HOFFMAN’S       :
  RESTAURANTS LLC                     :
                                      :
                    Plaintiffs,       :
        v.                            :                       Case No. 3:19-cv-9467-BRM-LHG
                                      :
                                      :
  BOROUGH OF BRIELLE; PLANNING        :
  BOARD OF BOROUGH OF BRIELLE;        :
  and JOHN DOES 1-10,                 :
                                      :                               OPINION
                    Defendants.       :
  ____________________________________:

  MARTINOTTI, DISTRICT JUDGE

         Before this Court is a Motion filed by Defendant Borough of Brielle (“Brielle”) to dismiss

  Plaintiffs Larry Grafas, 608 Green Avenue Associates LLC, and Hoffman’s Restaurants LLC’s

  (collectively, “Plaintiffs”) Complaint. (ECF No. 12.) Also before the Court is Defendant Planning

  Board of Borough of Brielle’s (the “Board”) Motion to Dismiss Plaintiffs’ Complaint. (ECF No.

  14.) Both Motions are opposed. (ECF No. 18.) Having reviewed the submissions filed in

  connection with the motion and having declined to hold oral argument pursuant to Federal Rule of

  Civil Procedure 78(b), for the reasons set forth below and for good cause appearing, Brielle’s

  Motion to Dismiss is DENIED and the Board’s Motion to Dismiss is DENIED.

         I.     BACKGROUND

         For the purposes of this Motion to Dismiss, the Court accepts the factual allegations in the

  Amended Complaint as true and draws all inferences in the light most favorable to Plaintiffs. See

  Phillips v. Cty. of Allegheny, 515 F.3d 224, 228 (3d Cir. 2008). Furthermore, the Court also
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  considers any “document integral to or explicitly relied upon in the complaint.” In re Burlington

  Coat Factory Secs. Litig., 114 F.3d 1410, 1426 (3d Cir. 1997) (quoting Shaw v. Dig. Equip. Corp.,

  82 F.3d 1194, 1220 (1st Cir. 1996)).

         This matter stems from allegedly discriminatory actions taken by Brielle through its Board,

  the members of its administration, and its council (the “Council”) against Plaintiffs. Plaintiff Larry

  Grafas (“Grafas”) is the sole member of Plaintiffs 608 Green Avenue Associates (“608

  Associates”) and Hoffman’s Restaurant LLC (“Hoffman”) d/b/a Waypoint 622 (“Waypoint”).

  (ECF No. 1 ¶ 6.)

         On January 9, 2015, Grafas, through 608 Associates purchased the bar/restaurant formally

  known as Union Landing (“UL”) in Brielle, which included a liquor license. (Id. ¶ 10.) In

  anticipation of Waypoint’s Memorial Day Weekend opening, Grafas commenced significant

  improvements (the “Improvements”) to the restaurant that were overseen and approved by Elissa

  Commins (“Commins”), the Zoning Official of Brielle. (Id. ¶ 12.) However, despite prior approval

  of the Improvements, Brielle—in response to complaints by Waypoint’s neighbors—formed a

  committee to investigate whether the Improvements violated local ordinances (the “Committee”).

  (Id. ¶ 15.) The Committee, through member and Board engineer Allan Hilla (“Hilla”), issued a

  report (the “Report”) citing: “(i) de minimis inconsistencies from the previously approved

  Improvements and (ii) various supposed land use violations (some of which were already existing

  when Mr. Grafas purchased the property).” (Id.) The Report threatened Grafas with fines and

  possible imprisonment if he did not remediate the cited conditions. (Id.)

         In response, Grafas appealed the Report and simultaneously filed a formal site plan

  application (the “Site Plan Application”) with the Board. (Id. ¶ 16.) While the Site Plan Application

  was before the Board, the Council passed an ordinance limiting all bands in Brielle establishments



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  to a maximum of three pieces. (Id. ¶ 17.) Soon after, an objector took an unauthorized video of a

  band with more than three pieces playing at Waypoint and sent the video to Brielle. (Id.) Grafas

  received a summons for violating the ordinance, which was eventually dismissed after Grafas

  challenged the summons and charges. (Id.)

         Additionally, in 2016, the Council passed an ordinance which prevented the operation of

  any instrument, amplifier, or device that can be heard at a distance of 100 feet. (Id. ¶ 23.) A member

  of the Brielle Police Department hand-delivered a copy of the site plan for Waypoint to Grafas

  with a 100-foot radius drawn around the restaurant. (Id.) To Grafas’s knowledge, no other property

  owner received such a copy. (Id.)

         On or about June 26, 2017, Grafas appeared before the Mayor and three other members of

  the Council for renewal of Hoffman’s liquor license (the “Liquor License”) (the “2017 Renewal”).

  (Id. ¶ 18.) The 2017 Renewal involved the Council placing additional restrictions on the Liquor

  License which required Waypoint to (i) close at 11:00 p.m. and (ii) only seat 72 patrons at a time

  (the “2017 Restrictions”). (Id. ¶ 19.) Waypoint is the only restaurant in Brielle to have its liquor

  license subject to restrictions regarding hours or seating capacity. (Id.)

         Initially, the Council voted 2-1 in favor of approving the renewal of the Liquor License

  without the 2017 Restrictions. (Id.) However, Brielle’s attorney informed the Council that a 2-1

  vote was insufficient to pass a resolution and subsequently, after a re-vote, the Council voted 3-0

  to renew the Liquor License with the 2017 Restrictions. (Id.) In response, Waypoint appealed the

  Council’s decision to the Director of the NJ Division of Alcoholic Beverage Control alleging the

  original 2-1 vote was valid and the license was therefore lawfully granted without the 2017

  Restrictions. (Id. ¶ 20.) Thereafter, the Director issued a stay of the enforcement of the 2017

  Restrictions and the matter is currently pending before an Administrative Law Judge. (Id. ¶ 21.)



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         On or about April 10, 2018 1, the Board adopted a resolution memorializing its decision on

  the Site Plan Application. (Id. ¶ 24.) In doing so, the Board found: (1) Waypoint is permitted to

  stay open until 2:00am, (2) Waypoint is permitted to seat approximately 280 patrons at one time,

  (3) Waypoint is not permitted to allow any bands playing to use amplification, and (4) Waypoint

  must have a valet during “busy” times. (Id.) According to Grafas, no other similar restaurant has

  been subject to such restrictions. (Id.) Furthermore, the Council did not hold a hearing to discuss

  the 2018 Restrictions or give Plaintiffs the opportunity to present their position. (Id.)

  Consequently, Grafas appealed the Board’s decisions in New Jersey Superior Court, where a case

  is currently pending (the “Superior Court Action”). (Id.)

         In June of 2018, the Council once again renewed the Liquor License (the “2018 Renewal”)

  with additional restrictions, including that: (1) Waypoint could no longer play live music, and (2)

  Waypoint was required to have valet parking for its patrons (the “2018 Restrictions”). (Id. ¶ 25.)

  The Council did not hold a hearing to discuss the 2018 Restrictions or give Plaintiffs opportunity

  to present their position. (Id.) As with the 2017 Renewal, the 2018 Renewal is stayed pending the

  resolution of an appeal before an Administrative Law Judge. (Id.)

         Finally, in 2018, Brielle removed eight parking spots previously available to Waypoint

  patrons by prohibiting parking on the street directly in front of Waypoint. (Id. ¶ 26.) This action

  was taken even after Waypoint reconfigured its parking lot to promote traffic flow and safer

  conditions. (Id.)

         On April 10, 2019, Plaintiffs filed their two-count Complaint against Defendants for

  violation of 42 U.S.C. § 1983 (Count Two) and to declare the policy unconstitutional pursuant to



  1
    The Complaint states the date was April 10, 2017. However, based on the timeline and both
  Plaintiffs’ and Defendants’ subsequent moving papers, it is clear Plaintiffs meant April 10, 2018.
  The Court will construe the date as such.
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  28 U.S.C. § 2201 (Count One). (ECF No. 1.) Brielle and the Board filed answers to the Complaint

  on June 24, 2019 and June 25, 2019, respectively. (ECF Nos. 6 & 7.) On October 25, 2019, Brielle

  filed a Motion to Dismiss the Complaint. (ECF No. 12.) On October 28, 2019, the Board filed a

  Motion to Dismiss the Complaint. (ECF No. 14.) On November 18, 2019, Plaintiffs filed an

  Opposition to both Motions. (ECF No. 18.) Finally, on October 25, 2019, Brielle and the Board

  filed Reply Briefs to their respective Motions. (ECF Nos. 19 & 20.)

         II.     LEGAL STANDARD

         In deciding a motion to dismiss pursuant to Federal Rule of Civil Procedure 12(b)(6), a

  district court is “required to accept as true all factual allegations in the complaint and draw all

  inferences in the facts alleged in the light most favorable to the [plaintiff].” Phillips, 515 F.3d at

  228. “[A] complaint attacked by a . . . motion to dismiss does not need detailed factual

  allegations.” Bell Atl. v. Twombly, 550 U.S. 544, 555 (2007). However, the Plaintiff’s “obligation

  to provide the ‘grounds’ of his ‘entitle[ment] to relief’ requires more than labels and conclusions,

  and a formulaic recitation of the elements of a cause of action will not do.” Id. (citing Papasan v.

  Allain, 478 U.S. 265, 286 (1986)). A court is “not bound to accept as true a legal conclusion

  couched as a factual allegation.” Papasan, 478 U.S. at 286. Instead, assuming the factual

  allegations in the complaint are true, those “[f]actual allegations must be enough to raise a right

  to relief above the speculative level.” Twombly, 550 U.S. at 555.

         “To survive a motion to dismiss, a complaint must contain sufficient factual matter,

  accepted as true, to ‘state a claim for relief that is plausible on its face.’” Ashcroft v. Iqbal, 556

  U.S. 662, 678 (2009) (citing Twombly, 550 U.S. at 570). “A claim has facial plausibility when the

  pleaded factual content allows the court to draw the reasonable inference that the defendant is

  liable for misconduct alleged.” Id. This “plausibility standard” requires the complaint allege



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  “more than a sheer possibility that a defendant has acted unlawfully,” but it “is not akin to a

  ‘probability requirement.’” Id. (quoting Twombly, 550 U.S. at 556). “Detailed factual allegations”

  are not required, but “more than an unadorned, the defendant-harmed-me accusation” must be

  pled; it must include “factual enhancements” and not just conclusory statements or a recitation of

  the elements of a cause of action. Id. (citing Twombly, 550 U.S. at 555, 557).

          “Determining whether a complaint states a plausible claim for relief [is] . . . a context

  specific task that requires the reviewing court to draw on its judicial experience and common

  sense.” Iqbal, 556 U.S. at 679. “[W]here the well-pleaded facts do not permit the court to infer

  more than the mere possibility of misconduct, the complaint has alleged—but it has not

  ‘show[n]’— ‘that the pleader is entitled to relief.’” Id. at 679 (quoting Fed. R. Civ. P. 8(a)(2)).

          While as a general rule, a court many not consider anything beyond the four corners of the

  complaint on a motion to dismiss pursuant to 12(b)(6), the Third Circuit has held “a court may

  consider certain narrowly defined types of material without converting the motion to dismiss [to

  one for summary judgment pursuant under Rule 56].” In re Rockefeller Ctr. Props. Sec. Litig.,

  184 F.3d 280, 287 (3d Cir. 1999). Specifically, courts may consider any “document integral to or

  explicitly relied upon in the complaint.” In re Burlington Coat Factory Sec. Litig., 114 F.3d at

  1426.

          III.   DECISION

          As a threshold matter, the Court notes that, because Brielle and the Board filed Answers to

  the Complaint, they are procedurally barred from filing a Motion to Dismiss under Fed. R. Civ. P.

  12(b)(6). However, as the Third Circuit explained, the difference between Rules 12(b), 12(c), and

  12(h) are purely procedural: (1) a Rule 12(b) motion to dismiss a complaint must be filed before

  any responsive pleading; (2) a Rule 12(c) motion for judgment on the pleadings may be filed after



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  the pleadings are closed; and (3) a Rule 12(h)(2) provides that a defense of failure to state a claim

  upon which relief can be granted may also be made by a motion for judgment on the pleadings.

  Turbe v. Government of Virgin Islands, 938 F.2d 427, 428 (3d Cir. 1991). For any of the three

  Rule 12 motions, the same standards as under Rule 12(b)(6) are applied. Id. Rules 12(c) and 12(h)

  permit the filing of the functional equivalent of a motion to dismiss after an answer is filed.

  Because Brielle and the Board filed Answers and because Plaintiffs have not objected to the filing

  of their Motions, the Court will apply the Rule 12(b)(6) standard to their Motions and consider

  them as having been filed under Rule 12(c). See Sprint Solutions, Inc. v. J&S Invs. of Del., Inc.,

  No. 16-1420, 2017 U.S. Dist. LEXIS 13906, at *13 (D.N.J. Jan. 31, 2017).

                 A.      Abstention

         Both Brielle and the Board contend Plaintiffs’ Complaint should be dismissed pursuant to

  the Younger abstention doctrine because the underlying issues are currently being litigated in a

  state court and an administrative agency.

         The Younger abstention doctrines gives a federal court the “discretion to abstain from

  exercising jurisdiction over a particular claims where resolution of that claim in federal court

  would offend the principles of comity by interfering with an ongoing state proceeding.” Addiction

  Specialists, Inc. v. Twp. of Hampton, 411 F.3d 399, 408 (3d Cir. 2005) (citing Younger v. Harris,

  401 U.S. 37 (1971)). However, “abstention rarely should be invoked,” Ankenbrandt v. Richards,

  504 U.S. 689, 705 (1992), and is only appropriate “in a few carefully defined situations,” Gwynedd

  Properties, Inc. v. Lower Gwynedd Twp., 970 F.2d 1195, 1199 (3d Cir. 1992.) Younger abstention

  is only appropriate where the following three requirements are satisfied: (1) there are ongoing state

  proceedings that are judicial in nature; (2) the state proceedings implicate important state interests;

  and (3) the state proceedings afford an adequate opportunity to raise the federal claims. Id. at 1200



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  (citing Middlesex County Ethics Comm. v. Garden State Bar Ass’n, 457 U.S. 423, 432, (1982);

  Schall v. Joyce, 885 F.2d 101, 106 (3d Cir. 1989)).

         Indeed, in Sprint Comms., Inc. v. Jacobs, 571 U.S. 69 (2013), the Supreme Court

  “narrowed Younger’s domain.” Malhan v. Sec’y of U.S. Dep’t of State, 938 F.3d 453, 462 (3d Cir.

  2019). As a threshold matter, a court must first, before analyzing the above-listed Middlesex

  factors, determine whether the parallel state action falls within one of “three exceptional

  categories”: (1) criminal prosecutions, (2) “certain civil enforcement proceedings,” and (3) “civil

  proceedings involving certain orders uniquely in furtherance of the state courts’ ability to perform

  their judicial functions.” Sprint, 571 U.S. at 78.

         Both Brielle and the Board contend the Court should abstain from exercising jurisdiction

  over Plaintiffs’ claims because of the currently pending Superior Court Action. (ECF No. 14-1 at

  18, ECF No. 12-2 at 18.) However, the Board ignores the first part of the Younger analysis and

  fails to argue the Superior Court Action falls into one of the “exceptional categories.” Because the

  Board has not made this threshold showing, their Motion to Dismiss on abstention grounds is

  DENIED. Conversely, Brielle does address the threshold issue and contends the Superior Court

  Action is a “civil enforcement proceeding.” (ECF No. 12-2 at 19.)

         Pursuant to Sprint, to be considered a “civil enforcement proceeding,” the state proceeding

  must generally be “akin to a criminal prosecution” and, if it is, is therefore said to be “quasi-

  criminal” in nature. Sprint, 571 U.S. at 78.

         “[Q]uasi-criminal proceedings of this ilk share several distinguishing features.” Gonzalez

  v. Waterfront Comm’n of N.Y. Harbor, 755 F.3d 176, 181 (3d Cir. 2014). For instance, the

  proceeding will “characteristically [be] initiated to sanction the federal plaintiff, i.e., the party

  challenging the state action, for some wrongful act.” Sprint, 571 U.S. at 79. This is more than



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  simply “negative consequences.” ACRA Turf Club, LLC v. Zanzuccki, 748 F.3d 127, 140 (3d Cir.

  2014). “Sanctions are retributive in nature and are typically imposed to punish the sanctioned party

  ‘for some wrongful act.’” Id. (quoting Sprint, 571 U.S. at 79). Sanctions must be more than the

  mere “cost of doing business, with the choice of whether to make such payment resting entirely

  with Plaintiffs.” Id.

          Additionally, “a state actor [will] routinely [be] a party to the state proceeding and often

  initiates the action.” Sprint, 571 U.S. at 79. “To be sure, the Supreme Court has not directly held

  that Younger applies only when a state actor files a complaint or formal charges.” ACRA Turf

  Club, 748 F.3d at 140. However, “the state’s ‘initiation’ procedure must proceed with greater

  formality than merely sending a targeted advisory notice to a class of people that may be affected

  by new legislation.” Id.

          Often, “the proceeding [will be] both in aid of and closely related to criminal statutes.”

  Huffman v. Pursue, Ltd., 420 U.S. 592, 604 (1975). A proceeding is more likely to be quasi-

  criminal if “the State could have alternatively sought to enforce a parallel criminal statute” that

  “vindicates similar interests.” ACRA Turf Club, 748 F.3d at 138; see also Trainor v. Hernandez,

  431 U.S. 434, 444 (1977); Gonzalez, 755 F.3d at 182. For that reason, “[i]nvestigations are

  commonly involved, often culminating in the filing of a formal complaint or charges.” Sprint, 571

  U.S. at 79-80; see also Gonzalez, 755 F.3d at 182.

          While quasi-criminal proceedings may share many attributes with actual criminal

  prosecutions, they will differ in one key respect: unlike a criminal prosecution, a quasi-criminal

  proceeding need not occur before the state’s judiciary. To the contrary, abstention will apply “to

  state administrative proceedings in which important state interests are vindicated, so long as in the

  course of those proceedings the federal plaintiff would have a full and fair opportunity to litigate



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 his constitutional claim.” Ohio Civil Rights Comm’n v. Dayton Christian Sch., Inc., 477 U.S. 619,

 627 (1986); see also Gonzalez, 755 F.3d at 182 (describing a state administrative proceeding as “a

 textbook example of a quasi-criminal action”).

        Brielle contends the Superior Court Action is a quasi-criminal proceeding because it

 “stemmed from the August 7, 2015 Notices of Violations issued by the Borough’s Zoning Officer

 to Mr. Grafas in regards to numerous zoning violations committed on the Waypoint Property.”

 (ECF No. 12-2 at 21.) However, the Superior Court Action—while related to the 2015 Notices of

 Violations—chiefly concerns a separate site plan proceeding before the Board. (ECF No. 18 at

 23.) While Plaintiffs were subject to certain penalties based on Brielle ordinances, Plaintiffs

 separately filed with the Board an application for preliminary and final site plan approval. (ECF

 No. 12-3, Exs. F-G.) Ultimately, after public hearings on the site plan application spanning from

 2016 through 2018, the Board adopted the Site Plan Resolution in April 2018. (See id., Ex. H at

 6.) It is this resolution from which Plaintiffs’ seek relief in the Superior Court Action. (See id., Ex.

 I.) Indeed, the Superior Court Action is merely a review of the Site Plan Resolution pursuant to

 N.J. Court Rule 4:69.

        Ultimately, the Superior Court Action lacks the requisite quasi-criminal character. The Site

 Plan Resolution was not designed to sanction Plaintiffs for any wrongful act. Additionally, it was

 not an investigation, nor did it constitute a formal complaint or criminal charge. Finally, Brielle

 has not identified any criminal statutes aided by or related to the Site Plan Resolution. Rather, the

 Superior Court Action is an appellate continuation of the municipal site plan approval. See Kane

 Properties, LLC v. City of Hoboken, 68 A.3d 1274 (N.J. 2013). Taken together, the above facts

 indicate the Superior Court Action is not a civil enforcement proceeding. See McNamara v.

 Grewal, No. 19-173, 2019 U.S. Dist. LEXIS 188288, at *14 (D.N.J. Oct. 29, 2019) (declining to



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 apply Younger abstention where defendant failed to make a threshold showing of a quasi-criminal

 proceeding). Therefore, Brielle has failed to make a threshold showing under Younger.

 Accordingly, Brielle’s Motion to Dismiss is DENIED.

                B.      Entire Controversy Doctrine

         While Brielle’s Motion to Dismiss is only based on a theory of abstention, the Board

 contends the Complaint should be dismissed under the entire controversy doctrine. (ECF No. 14-

 1 at 22.)

         “[T]he entire controversy doctrine applies only when a prior action based on the same

 transactional facts has been [1] tried to judgment or [2] settled.” U.S. ex rel. Charte v. Am. Tutor,

 Inc., 934 F.3d 346, 351-52 (3d Cir. 2019). Indeed, for the entire controversy doctrine to be

 applicable, there needs to exist a settlement or “a prior judgment that is final, valid, and on the

 merits.” Rycocline Prod., Inc. v. C & W Unlimited, 109 F.3d 883, 889 (3d Cir. 1997). The Board

 concedes the Superior Court Action is currently pending. (ECF No. 14-1 at 22.) As such, there is

 no valid final judgment on the merits. Accordingly, the Board’s Motion to Dismiss on these

 grounds is DENIED.

                C.      12(c)

         Finally, the Board contends the Complaint should be dismissed because Plaintiffs have

 failed to state a claim pursuant to Fed. R. Civ. P. 12(b)(6). (ECF No. 14-1 at 12.)

         To state a claim for relief under § 1983, a plaintiff must allege: (1) the violation of a

 constitutional right, and (2) the alleged deprivation was committed or caused by a person acting

 under color of state law. See Evans v. Gloucester Twp., 124 F. Supp. 3d 340, 356 (D.N.J. 2015).

 To state a claim for municipal liability under § 1983, a plaintiff must “identity a municipal policy

 or custom that caused the plaintiff’s injury.” Kriss v. Fayette Cnty., 504 F. App’x 182, 187 (3d Cir.



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 2012) (citing Bd. of Cnty. Comm’rs of Bryan Cnty. V. Brown., 520 U.S. 397, 403 (1997)). “[A]n

 unconstitutional policy c[an] be inferred from a single decision taken by the highest officials

 responsible for setting policy in that area of the government’s business.” Brennan v. Norton, 350

 F.3d 399, 428 (3d Cir. 2003) (quoting City of St. Louis v. Praprotnik, 485 U.S. 112, 123 (1988)).

 This Circuit has observed the Supreme Court’s pronouncement of this theory of liability in

 Pembaur v. City of Cincinnati:

                  [I]t is plain that municipal liability may be imposed for a single
                  decision by municipal policymakers under appropriate
                  circumstances. No one has ever doubted, for instance, that a
                  municipality may be liable under § 1983 for a single decision by its
                  properly constituted legislative body - whether or not that body had
                  taken similar action in the past or intended to do so in the future -
                  because even a single decision by such a body unquestionably
                  constitutes an act of official government policy.

           475 U.S. 469 (1986) (citations omitted).

           Plaintiffs’ claims against the Board are set forth in Paragraph 24 of the Complaint, which

 states:

                  On or about April 10, 2017, the Board adopted a resolution
                  memorializing its decision on Waypoint’s Site Plan Application.
                  The Board decided the following, amongst other things: (1)
                  Waypoint is permitted to stay open until 2:00am, (2) Waypoint is
                  permitted to seat approximately 280 patrons at one time, (3)
                  Waypoint is not permitted to allow any bands playing to use
                  amplification and (4) Waypoint must have a valet on during “busy”
                  times. To the knowledge of Mr. Grafas, no other similar restaurant
                  or bar in Brielle has a restriction against a band stand against
                  amplified music, or is required to have a valet. This resolution is
                  arbitrary and capricious, is without any basis in law or fact, is
                  discriminatory and violates Plaintiffs’ constitutional rights. The
                  Council held no hearing to discuss the 2018 Restrictions or give
                  Plaintiffs the opportunity to present their position and consequently,
                  the Council imposed such restrictions in flagrant deprivation of
                  Plaintiff’s constitutional rights. Such restrictions have had a
                  significant negative impact on Waypoint’s business since their
                  enactment. Mr. Grafas has appealed the Board’s decisions in New
                  Jersey Superior Court, where a case is currently pending. In the

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                interim, Mr. Grafas, in good faith, has abided by all the Board’s
                restrictions to his detriment.

 (ECF No. 1 ¶ 24.)

        The Board contends the above allegations are insufficient to show how the Board’s

 decision constitutes a policy or practice of the Board. (ECF No. 14-1 at 14.) However, as stated

 above, an unconstitutional policy can be inferred by a single decision taken by the highest

 appropriate governing body. See Buck Foston’s New Brunswick LLC v. Cahill, No. 11-03731, 2013

 WL 5435289, at *20 (D.N.J. Sept. 27, 2013). Therefore, a single decision of a municipal legislative

 body can form the basis of a § 1983 claim. See id. at *21 (denying motion to dismiss a § 1983

 claim against a municipal body’s decision denying a business owner a liquor license); see also

 McHale v. Bergen Cnty. Imp. Auth., No. 11-2159, 2012 WL 3149094, at *4 (D.N.J. July 31, 2012)

 (denying motion to dismiss a § 1983 claim based on alleged action taken by a county board). As

 such, Plaintiffs have adequately stated a § 1983 claim by describing a history of discriminatory

 conduct perpetrated by Brielle and the Board. (See ECF No. 1 ¶¶ 10-26.) Accordingly, the Board’s

 Motion to Dismiss is DENIED.

        IV.     CONCLUSION

        For the reasons set forth above, Brielle’s Motion to Dismiss is DENIED and the Board’s

 Motion to Dismiss is DENIED. An appropriate order will follow.


 Date: May 19, 2020                                   /s/ Brian R. Martinotti___________
                                                      HON. BRIAN R. MARTINOTTI
                                                      UNITED STATES DISTRICT JUDGE




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